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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-00911-WJM-SKC

TIN GIANT, LLC, and ROBERT WYATT,

Plaintiffs,

v.

ATARI VCS, LLC f/k/a, “ATARI GAMEBOX, LLC”

Defendant.
______________________________________________________________________________

          JOINT MOTION TO CONTINUE SCHEDULING CONFERENCE
______________________________________________________________________________

        Now come Plaintiffs, Tin Giant, LLC and Rob Wyatt, and Defendant Atari VCS, LLC by

and through their respective attorneys, and jointly move this court to continue the Scheduling

Conference currently set to take place on July 14, 2020 at 11:00am. In support, the Parties state

as follows:

        1.    A Scheduling Conference is set for July 14, 2020 at 11:00am. [Doc. # 19].

        2.    The Clerk’s Entry Default was entered against Defendant Atari VCS, LLC on May

22, 2020. [Doc. # 23].

        3.    Counsel for Defendant Atari VCS, LLC entered his appearance in this case on July

3, 2020. [Doc. # 24].

        4.    Defendant Atari VCS, LLC filed its Motion to Set Aside Clerk’s Entry of Default

on July 3, 2020. [Doc. # 25].




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        5.     The Parties ask this Court to continue the Scheduling Conference to provide the

parties with time to conduct the Rule 26(f) meeting, prepare a proposed scheduling order in

accordance with the Rules.

        6.     The attorneys for all Parties agree to this continuance and have signed this joint

motion.

        7.     The Parties believe that a 30-day continuance of the Scheduling Conference will be

sufficient and serve the purposes set forth herein.

        8.     No prior extension of the Scheduling Conference has been requested, or granted

previously.

        9.     This Motion will be served on all clients as required by D.C.COLO.LCivR 6.1(c).

        10.    This Motion is not made for purposes of undue delay, and no party will be

prejudiced as all Parties agree to the relief requested, and a continuance will serve the interests of

all Parties.

        Dated: July 7, 2020.


                                               LASZLOLAW
                                               s/ Michael J. Laszlo
                                               Theodore E Laszlo, Jr. (#36234)
                                               Michael J. Laszlo (#38206)
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                                  s/ Denver Edwards
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                               CERTIFICATE OF SERVICE

I certify that on July 7, 2020, the foregoing was served on all counsel of record via the Court’s
ECF Filing system.

                                            s/ Michael J. Laszlo

I certify that on July 7, 2020, the foregoing was served on Plaintiffs via email pursuant to
D.C.COLO.LCivR 6.1(c).

                                            s/ Michael J. Laszlo

I certify that on July 7, 2020, the foregoing was served on Defendant via email pursuant to
D.C.COLO.LCivR 6.1(c).

                                            s/ Denver Edwards




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